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                                                                                NORTlllJRN DISTRICT OF TEXAS
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                     IN THE UNITED STATES DISTRICT CO RT
                          NORTHERN DISTRICT OF TEXAS                                   DEC 1 0 2018
                              FORT WORTH DIVISION

ERIC C. DARDEN, AS                                §                              CLURK, U.S. DISTRICT COURT
ADMINISTRATOR OF THE ESTATE OF                    §                                BY---,=,,,.---
                                                                                       Dcputy
JERMAINE DARDEN,                                  §
                                                  §
             Plaintiff,                           §
                                                  §
vs.                                               §   NO. 4:15-CV-221-A
                                                  §
THE CITY OF FORT WORTH, TEXAS,                    §
ET AL.,                                           §
                                                 §
             Defendants.                         §


                           MEMORANDUM OPINION AND ORDER

      By memorandum opinion and order signed August 10, 2016, the

court granted the motions of defendants, City of Fort Worth

("City"), W. F. Snow ("Snow") , and J. Romero ("Romero"), for

summary judgment. Doc. 1 104. Because the court determined that

Snow and Romero did not commit a constitutional violation, it

held that City could not be liable for any constitutional

violation. Id. at 15. And, the court determined that City was

entitled to sovereign immunity as to plaintiff's state law

claims. Id. at 15-16. Plaintiff appealed from the court's

granting of the motions. Doc. 106. The United States Court of

Appeals for the Fifth Circuit reversed in part, vacated in part,

and remanded the action for further proceedings. Doc. 114.

Defendants filed a petition for writ of certiorari and the court



      'The "Doc.   "reference is to the number of the item on the docket in this action.
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granted a stay while the petition was pending. Doc. 119. The

petition has now been denied. Doc. 120. Accordingly, by order

signed November 15, 2018, the court lifted the stay. Doc. 122.

City has requested that the court consider the merits of its

summary judgment motion filed June 17, 2016. Doc. 121.

     As the Fifth Circuit noted, this court did not reach the

merits of plaintiff's municipal liability claims. Accordingly,

the Fifth Circuit remanded for further consideration of municipal

liability, expressing no opinion on the merits. Doc. 114 at 16-

17. The court now considers the motion of City for summary

judgment. And, having considered the motion, the response, the

reply, the summary judgment evidence, the record, and applicable

authorities, the court finds that the motion should be granted.

                                    I.

                          Plaintiff's Claims

     The operative pleading is plaintiff's third amended

complaint. Doc. 66. Plaintiff's claims arise out of the execution

by Snow and Romero of a "no-knock" search warrant on May 16,

2013. Eric C. Darden ("Darden") died during the execution of the

warrant after he was tased. Plaintiff alleges that Snow and

Romero used excessive force and that City is liable for failure

to properly train its officers. He also alleges that City is

liable under state law for Snow's negligent use of the taser.


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                                       II.

                             Grounds of the Motion

         City maintains that plaintiff cannot establish that City had

a policy, practice, or custom that caused a deprivation of

Darden's constitutional rights.

        Specifically, the official policy of [City] has
        prohibited excessive force, and there is no custom or
        practice by department officials condoning excessive
        force. Plaintiff cannot demonstrate a deficiency in the
        Fort Worth Police Department's training or supervision
        of its officers that is capable of supporting Section
        1983 liability because the City adequately trains all
        of its officers, and enforces its training and policies
        by supervising those officers, by investigating
        officers who are alleged to have engaged in misconduct,
        and disciplining them when warranted.

Doc. 74 at 6. City also alleges that it is entitled to sovereign

immunity as to the state law claims.

                                       III.

                         Applicable Legal Principles

A.      Summary Judgment

        Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim or defense

if there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.              Fed. R. Civ.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986).      The movant bears the initial burden of pointing out to

the court that there is no genuine dispute as to any material


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fact.     Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).

The movant can discharge this burden by pointing out the absence

of evidence supporting one or more essential elements of the

nonmoving party's claim,           "since a complete failure of proof

concerning an essential element of the nonmoving party's case

necessarily renders all other facts immaterial."            Id. at 323.

Once the movant has carried its burden under Rule 56(a), the

nonmoving party must identify evidence in the record that creates

a genuine dispute as to each of the challenged elements of its

case.     Id. at 324; see also Fed. R. Civ. P. 56 (c)        ("A party

asserting that a fact                 is genuinely disputed must support

the assertion by                 citing to particular parts of materials in

the record          • II )   •   If the evidence identified could not lead

a rational trier of fact to find in favor of the nonmoving party

as to each essential element of the nonmoving party's case, there

is no genuine dispute for trial and summary judgment is

appropriate.     Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 597 (1986).            In Mississippi Prot. & Advocacy

Sys., Inc. v. Cotten, the Fifth Circuit explained:

        Where the record, including affidavits,
        interrogatories, admissions, and depositions could not,
        as a whole, lead a rational trier of fact to find for
        the nonmoving party, there is no issue for trial.

929 F. 2d 1054, 1058         (5th Cir. 1991).



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         The standard for granting a motion for summary judgment is

the same as the standard for rendering judgment as a matter of

law. 2       Celotex Corp., 477 U.S. at 323.                     If the record taken as a

whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.

Matsushita, 475 U.S. at 597; see also Mississippi Prot. &

Advocacy sys., 929 F.2d at 1058.

B.       Municipal Liability

         The law is clearly established that the doctrine of

respondent superior does not apply to                        §   1983 actions.          Monell v.

New York City Dep't of Soc. Servs., 436 U.S. 658, 691 (1978);

Williams v. Luna, 909 F.2d 121, 123                       (5th Cir. 1990). Liability

may be imposed against a municipality only if the governmental

body itself subjects a person to a deprivation of rights or

causes a person to be subjected to such deprivation. Connick v.

Thompson, 563 U.S. 51, 60 (2011). Local governments are

responsible only for their own illegal acts.                            Id.   (quoting Pembaur

v. Cincinnati, 475 U.S. 469, 479 (1986)). Thus, plaintiffs who

seek to impose liability on local governments under                                §   1983 must

prove that action pursuant to official municipal policy caused

their injury. Monell, 436 U.S. at 691. Specifically, there must


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          ln Boeing Co. v. Shipman, 411F.2d365, 374-75 (5th Cir. 1969) (en bane), the Fifth Circuit
explained the standard to be applied in determining whether the court should enter judgment on motions
for directed verdict or for judgment notwithstanding the verdict.

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be an affirmative link between the policy and the particular

constitutional violation alleged. City of Oklahoma City v.

Tuttle, 471 U.S. 808, 823     (1985).

     Proof of a single incident of unconstitutional activity is

not sufficient to impose liability, unless proof of the incident

includes proof that it was caused by an existing,

unconstitutional policy, which policy can be attributed to a

municipal policymaker. Tuttle, 471 U.S. at 823-24.          (If the policy

itself is not unconstitutional, considerably more proof than a

single incident will be necessary to establish both the requisite

fault and the causal connection between the policy and the

constitutional deprivation. Id. at 824.) Thus, to establish

municipal liability requires proof of three elements: a

policymaker, an official policy, and a violation of

constitutional rights whose moving force is the policy or custom.

Piotrowski v. City of Houston, 237 F.3d 567, 578         (5th Cir. 2001).

      The Fifth Circuit has been explicit in its definition of an

•official policy• that can lead to liability on the part of a

governmental entity, giving the following explanation in an

opinion issued en bane in response to a motion for rehearing in

Bennett v. City of Slidell:

     1. A policy statement, ordinance, regulation, or
     decision that is officially adopted and promulgated by
     the municipality's lawmaking officers or by an official


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         to whom the lawmakers have delegated policy-making
         authority; or

         2. A persistent, widespread practice of city officials
         or employees, which, although not authorized by
         officially adopted and promulgated policy, is so common
         and well settled as to constitute a custom that fairly
         represents municipal policy. Actual or constructive
         knowledge of such custom must be attributable to the
         governing body of the municipality or to an official to
         whom that body had delegated policy-making authority.

         Actions of officers or employees of a municipality do
         not render the municipality liable under § 1983 unless
         they execute official policy as above defined.

735 F.2d 861, 862       (5th Cir. 1984)     (per curiam).

        The general rule is that allegations of isolated incidents

are insufficient to establish a custom or policy. Fraire v. City

of Arlington, 957 F.2d 1268, 1278           (5th Cir. 1992); Mcconney v.

City of Houston, 863 F.2d 1180, 1184           (5th Cir. 1989); Languirand

v. Hayden, 717 F.2d 220, 227-28 (5th Cir. 1983).

C.      Texas Tort Claims Act

        Under the Texas doctrine of sovereign immunity, a

governmental entity cannot be held liable for the actions of its

employees unless a constitutional or statutory provision waives

its sovereign immunity in clear and unambiguous language. See

Univ. of Tex. Med. Branch v. York, 871 S.W.2d 175, 177 (Tex.

1994); Duhart v. State, 610 S.W.2d 740, 742 (Tex. 1980). The

Texas Tort Claims Act provides such a waiver in certain

circumstances. Tex. Civ. Prac. & Rem. Code              §   101.025; York, 871


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S.W.2d at 177. However, the Act does not waive immunity with

respect to claims "arising out of assault, battery, false

imprisonment, or any other intentional tort." Tex. Civ. Prac. &

Rem. Code§ 101.057(2); see                     Goodman v. Harris County, 571 F.3d

388, 394       (5th Cir. 2009). Use of excessive force is an

intentional tort and an alternative negligence pleading cannot

save the claim where the claim is based on the same conduct as

the intentional tort claim. Saenz v. City of El Paso, 637 F.

App'x 828, 830-31 (5th Cir. 2016); Cox v. City of Fort Worth, 762

F. Supp. 2d 926, 935 (N.D. Tex. 2010)

                                                  IV.

               Facts Established by Summary Judgment Evidence

        The summary judgment evidence 3 establishes:

        The conduct of City police officers is primarily controlled

by the police department's General Orders, copies of which are

issued to each officer upon admission to the Fort Worth Police

Academy. When General Orders are revised, each officer is issued

and/or emailed a copy of the revised orders. Each officer is

require to read, know, and follow the provisions of the General

Orders. All officers are trained in the application of the

General Orders and are required to comply with them. Failure to


        'Plaintiff has filed amended objections and a motion lo strike portions of the summary judgment
evidence. Doe. 98. The court is not granting the motion, but, as is its custom, giving the summary
judgment evidence whatever weight it may deserve.

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comply could result in discipline, including termination of

employment. Doc. 77 at 53-54. In addition, all peace officers in

the State of Texas must meet the training and continuing

education standards of the Texas Commission on Law Enforcement

and failure to adhere to those standards may result in suspension

of an officer's license. Id. at 67.

     On the date of Darden's death, City had the following

General Orders in place:

     1. 306.04, providing in pertinent part:

     B. Under no circumstances will the force used by an
     officer be greater than necessary to make an arrest or
     a detention or to protect oneself or another, nore will
     the force be used longer than necessary to subdue the
     suspect, and deadly force shall not be used except as
     specifically provided in this directive.



     F. Force shall only be used to make an arrest or
     detention, and then, only the minimum amount of force
     necessary shall be used.

Id. at 54-55, 57.

     2. 306.05, providing in pertinent part:

     An officer's use of force shall be objectively
     reasonable and shall be the minimum amount of force
     necessary to make the arrest or detention.

Id. And,

     c. Conducted Energy Device (CED) or Chemical Agent:
        (1) Use of the CED or chemical agent force options
     shall be restricted to situations where the officer has
     probable cause to arrest and engaging the suspect would
     expose the officer to a reasonably defined risk or

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     tactical disadvantage. The officer must be able to
     articulate a reasonable belief that there is a
     potential or immediate threat. Once the officer has
     gained compliance, the use of force options (technique)
     shall be followed by an alternate method of control or
     apprehension.

Id. at 54-55, 58.

     3. 306.09, providing:
     A. All use of force incidents which result in injury,
     involve the use of a chemical agent, or any use of
     force incident during which the level of force used is
     hard open-hand control and restraint or greater shall
     be reported and identified as "Use of Force by an
     Officer."
     1. Officers shall report the full details of the use of
     force in related arrests or offense reports. If no
     arrest or offense report is to be completed, the
     details shall be reported in an incident report. A
     separate inter-off ice correspondence will be completed
     by the supervisor and forwarded through the officer's
     chain of command to be reviewed and filed by the
     bureau.
     2. All reports in which the details of a use of force
     incident is reported shall be completed prior to the
     end of watch. These reports shall be flagged Use of
     Force and routed to the captain of the involved officer
     for management review.
     3. Captains shall review each use of force report to
     determine if there is a need for changes in
     departmental procedures or additional training for the
     officer. Additional training for the officer may be
     based on whether the involved officer has had previous
     incidents indicating the officer is prone to violence
     or the need for referrals to the department
     psychologist. The captain shall take appropriate action
     based on the basis of their determination.
     4. All completed use of force reports and inter-office
     correspondence shall be forwarded to the Training
     Division for review.
     5. Deputy chief shall conduct periodic audits to ensure
     the objectives of management review are being met.
     6. Any use by an officer of a flashlight as a weapon or
     the use of a weapon or device taken from a citizen



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     shall be reported as a Critical Police Incident and
     handled in accordance with General Order 356.00.

Id. at 54-55, 59.

     4. 702.00, which provides in pertinent part:

     B. Officers of the Fort Worth Police Department shall
     acquire a working knowledge of the General Orders, city
     ordinances, Texas Code of Criminal Procedure, Texas
     Penal Code, federal statutes, and current court cases.

     C. All officers and employees shall comply with the
     General Orders, special orders, directives, procedures
     of the department, orders and instructions of
     supervising officers, federal law, state law, and city
     ordinances.

Id. at 54-55, 61.

     5. 314.01, which provides in pertinent part:

     A. Arrests may be made when a warrant of arrest has
     been issued by an authorized magistrate or when arrest
     without a warrant is authorized under the laws of the
     United States, laws of the State of Texas, or the
     ordinances of Fort Worth.

Id. at 54-55, 62.

     6. 504.0l(J), which provides in pertinent part:

     3. Officers shall consider the age and physical
     condition of the subject when determining whether the
     CED is an appropriate option. Generally, unless exigent
     circumstances exist, the CED should not be discharged
     on a person
     a. under the age of eleven (11),
     b. above the age of seventy (70),
     c. who is visibly frail, or
     d. who is pregnant.



     8. Upon activating the CED in either the drive stun
     mode or the cartridge mode, officers shall use the CED


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     for one (1) standard five (5) second cycle and stop to
     evaluate the situation. If additional cycles are
     necessary, the number of cycles and duration of those
     cycles shall be the minimum necessary to place the
     subject into custody.
     9. CEDs are prohibited from being used:
     a. In a punitive or coercive manner
     b. against persons displaying passive non-compliance;
     or
     On any subject who does not demonstrate their over
     intention to use violence or force against themselves,
     the officer or another person.



     11. Once handcuffed and under control, all persons will
     be placed in an upright position that does not impair
     respiration.



     13. Once the CED has been activated, officers shall
     seek medical assistance for subjects who:
     a. May have pre-existing medical issues, including
     pregnancy,
     b. Appear to be under the influence of a narcotic or
     controlled substance,
     c. Receive three (3) or more electrical cycles from the
     CED or receive cycles for more than a cumulative 15
     seconds, or
     d. Appear non-responsive, ill, or have difficulty
     breathing.

Id. at 54-55, 63-64.

     Rachel DeHoyos was the supervisor of Snow and Romero.

Because force was used by them, she reviewed their conduct with

regard to Darden and determined that the use of force was

justified. Other supervisors in her chain of command also

reviewed the incident and made the same determination. Doc. 77 at

54-55. The "Major Case Division" of City's police department


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conducted an investigation and turned its finding over to a grand

jury, which declined to indict Snow. Id. at 80-81.

        Defendant Snow has been employed as a police officer with

City since January 5, 2004. He attended and completed training at

the Fort Worth Police Academy in 2004 and has never received any

form of discipline. Doc. 77 at 12. Snow believed that he acted in

a manner consistent with his training and standard police

practices in his dealings with Darden. Id. at 21. Defendant

Romero has been employed as a police officer since 2007. At the

time of the incident, Snow and Romero had received hundreds of

hours of training.' Id. at 68-79.

                                                 IV.

                                             Analysis

        City maintains that plaintiff cannot establish anything more

than a isolated incident of alleged misconduct. Plaintiff admits

that his burden is to show City's training procedures were

inadequate, City was deliberately indifferent in adopting its

training policy, and the inadequate training policy directly

caused the violations in question. Doc. 95 at 11-12. Plaintiff

must show how the particular training program is defective; an

isolated violation does not support a failure to train. Zarnow v.



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         At the time the motion for summary judgment was filed, records reflected that Romero had
accrued 3113 hours and Snow 3516 hours of education and training. Doc. 77 at 73, 79.

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City of Wichita Falls, 614 F.3d 161, 170 (5th Cir. 2010).

Further, if training procedures comply with state law, that

factors against failure to train. Id. at 171; Morris v. Dallas

County, 960 F. Supp. 2d 665, 685         (N.D. Tex. 2013).

     A municipality's liability is at its most tenuous when a

claim turns on failure to train. Connick, 563 U.S. at 61. It is

not enough to show that an officer could have been better

trained. City of Canton v. Harris, 489 U.S. 378, 390-91 (1989). A

training program is adequate if it allows officers to respond

properly to the usual and recurring situations with which they

must deal. Id. at 391. The issue is whether the failure to train

amounts to deliberate indifference to the rights of persons with

whom the police come into contact. Id. at 388. In other words,

one officer's unsatisfactory training will not establish

municipal liability because that officer's shortcomings or

mistakes may have been caused by factors other than deficient

training. Morris, 960 F. Supp. 2d at 685.

     In this case, plaintiff points to training that it is

acceptable to punch suspects in the face to jump to the

conclusion that City's officers were not adequately trained as to

use of force. Doc. 95 at 13, 15. Even assuming plaintiff could

show that City's officers received training that it is acceptable

to punch and kick people in the face for no reason--which is


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absolutely absurd-- plaintiff has not shown how such training

predictably caused Darden's death. See Estate of Davis ex rel.

McCully v. City of N. Richland Hills, 406 F.3d 375, 385-86 (5th

Cir. 2005).

     Plaintiff also refers to lack of training about how to care

for suspects who complain they cannot breathe or who are obese.

Id. 12-14, 16. He also complains about failure to perform CPR on

Darden. Id. at 13. But, as City points out, plaintiff did not

plead that City had a policy, practice or custom of violating its

citizens' constitutional rights by failing to train regarding

rendering medical care. But, in any event, plaintiff has not

pointed to any other incident in which an obese suspect died due

to City's failure in any respect to train its officers. Pursuant

to policy, an ambulance was stationed near the scene; when the

taser was deployed, the ambulance was called; and, a second call

was made when officers realized Darden was in distress. Doc. 77

at 20,   92.

     Finally, plaintiff seems to take the position that because

he has an expert and City has an expert, there must be a fact

issue for a jury to determine. However, the conclusion of

plaintiff's expert that officers "utilized more force than the

situation required," doc. 95 at 15, does not establish a genuine

fact issue for trial. See Connick, 563 U.S. at 68          (proving that


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an injury could have been avoided through better training will

not suffice).

      Plaintiff does not address City's arguments regarding his

inability to succeed on his state law claims, apparently

conceding that City is entitled to sovereign immunity and there

is no waiver of immunity for intentional torts. See Tex. Civ.

Prac. & Rem. Code§ 101.057(2); Goodman v. Harris Cnty., 571 F.3d

388, 394    (5th Cir. 2009); Texas Dep't of Pub. Safety v. Petta, 44

S.W.3d 575, 580 (Tex. 2001); Univ. of Tex. Med. Branch v. York,

871 S.W.2d 175, 177 (Tex.1994); Duhart v. State, 610 S.W.2d 740,

742   (Tex. 1980) .

                                    v.
                                  Order

      The court ORDERS that City's motion for summary judgment be,

and is hereby, granted, that plaintiff take nothing on his claims

against City, and that such claims be, and are hereby, dismissed.

      The court determines that there is no just reason for delay

in, and hereby directs, entry of final judgment as to the

disposition of plaintiff's claims

      SIGNED December 10, 2018.                                  .1




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